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EXHIBIT W
Case 3:09-cv-05191-CRB Document 127-23

Brenner, Wendy

Filed 01/21/11

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From: Augustino, Robin on behalf of Brenner, Wendy
Sent: Thursday, January 13, 2011 2:40 PM

To: alevine@dralegal.org

Ce: Brenner, Wendy

Subject: Enyart v. NCBE

Counsel —

Please see the attached correspondence.

01-13-11 Ltr.
- A. Levine fro

Robin (Romine) Augustino

Legal Secretary to Wendy Brenner~Joshua Mates~Scott Petersmeyer
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|.

Wendy J. Brenner VIA EMAIL AND US MAIL

(650) 843-5371
brennerwj@cooley.com

January 13, 2011

Anna Levine, Esq.

Disability Rights Advocates

2001 Center Street, Fourth Floor
Berkeley, CA 94704

RE: Enyart v. National Conference of Bar Examiners

Dear Ms. Levine:

This letter responds to your January 11, 2011 letter regarding the parties’ recent discussions
concerning administrative privileges on the February 2011 administration of the MBE.

Given that the parties have not resolved this issue informally, NCBE seeks in this letter to
ensure that its position is clear and to correct the record in several critical regards.

First, we are surprised at Ms. Enyart’s apparent outrage that NCBE is not willing to “guarantee
the interoperability” of her peripherals and the NCBE-provided laptop. The Court has issued
two previous injunctions in this matter, and each order expressly made clear that NCBE would
not be responsible for the interoperability of the peripherals. The February 3, 2010 stipulation
filed by the parties included specific language to this effect: “The ergonomic keyboard, trackball
mouse, and monitor shall be devoid of any storage devices or storage mechanisms and NCBE
does not guarantee the interoperability of such devices with the computer it provides.” This
language was adopted verbatim in the Court's February 4., 2010 Order. This same language
was included in the parties’ June 14, 2010 stipulation and again adopted verbatim in the Court's
June 22, 2010 Order. That NCBE will not assume responsibility for the peripherals should not
come as a surprise. Ms. Enyart has never previously made this request and, indeed, has never
even hinted that NCBE should assume this responsibility. Rather, this issue has been
addressed and handled differently in the previous two injunctions.

Second, your letter suggests that NCBE violated the previous Court orders based upon the
issues Ms. Enyart reported on the earlier administrations. We remind you that Ms. Enyart has
stipulated to the Ninth Circuit pursuant to Rule 11 that both of the earlier administrations were
“in accordance with the Court’s order’:

* Ms. Enyart’s March 16, 2010 Motion to Supplement the Record stated the following:
“Ms. Enyart took the MBE portion of the California Bar Examination on February 27 and
28, 2010, and the MPRE on March 6, 2010, both in accordance with the terms of the
preliminary injunction granted by Judge Breyer in this case.”

e The Parties’ August 12, 2010 Joint Motion to Supplement the Record stated the
following: “Ms. Enyart took the MBE portion of the California Bar Examination on July

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31, and August 1, 2010, and the MPRE on August 6, 2010, both in accordance with the
terms of the preliminary injunction granted by Judge Breyer on June 22, 2010."

In light of these representations, Ms. Enyart cannot now assert that NCBE has not complied
with the Court's Orders. NCBE has fully complied with the Orders.

Third, it is disingenuous for Ms. Enyart (or her counsel) to claim that the laptop provided by
NCBE in July 2010 did not arrive “in working order.” We were extremely disturbed to see that
assertion set forth in a declaration under oath filed with the Court because it is simply not true.
With each of the previous administrations, NCBE loaded the requested software, performed
extensive testing, and shipped the computers in perfect working order. There were no problems
apparent with the software or hardware before the computers were shipped. NCBE will submit
declarations to the Court under oath to this effect. We understand that Ms. Enyart reported
issues with the laptop upon set up, but she has never asserted, nor can she, that the computers
were not in working order before she began making adjustments and/or attaching her
peripherals. Any issues that arose occurred after she attached her peripherals and after she
modified the settings. NCBE has never assumed responsibility for the effects of her peripherals
or adjustments because it has no control over these variables, nor Ms. Enyart’s adjustments to

the computers.

Fourth, much of your attention has been focused on the issues Ms. Enyart reported on the last
administration, however, there is no basis for asserting that those issues affected her
performance on the test. Our testing records indicate that despite the issues reported during set
up, Enyart did, in fact, utilize these programs to complete all test questions. Indeed, Ms. Enyart
herself, in a conversation with an NCBE IT employee on August 5, 2010, reported that a
problem did not occur until several hours into the MBE. Again, NCBE is prepared to submit
declarations under oath to the Court to this effect. If Ms. Enyart runs into similar problems on
the next administration, she can request “stop the clock” breaks from the California Bar, which
will accommodate any loss of time in the unanticipated event of a problem.

Despite NCBE’s rejection of Ms. Enyart’s claims, NCBE is nevertheless willing to assist Ms.
Enyart with any issues encountered upon set up. To that end, NCBE has offered numerous

solutions:

e The laptop will be loaded with the exact software bundle prescribed by Ms. Enyart:
Windows XP, Word 2003, JAWS version 12 and MAGic version 11 software.

e The examination will be displayed in 14-point Arial font.

e Before NCBE ships the laptop, it will test the laptop using the same peripherals that Ms.
Enyart plans to use, assuming she identifies them and NCBE can obtain them.
(Alternatively, she can provide NCBE with the exact peripherals that she wants to use,
which NCBE can ship with the laptop.)

e NCBE can deliver the laptop to the State Bar for arrival on or before February 17, 2011,
and ask the State Bar to make the laptop available to Ms. Enyart and a technical expert

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of her choice on February 17, 2011 to attach her monitor, keyboard and mouse,
customize the software settings, and test the functionality of the equipment.

e NCBE can ask the State Bar to make the laptop available to Ms. Enyart and her expert
again on February 21, 2011 for set up in the secure testing area to again attach the
peripherals, customize the software settings, and test the functionality of the equipment.

» NCBE will make an NCBE representative knowledgeable about the configuration of the
laptop available by telephone on February 17, 2011, and February 21, 2011, at a pre-
established, mutually convenient time between 8:30 a.m. and 4:00 p.m. CST, to work
with Ms. Enyart and her technical expert on troubleshooting any technical or
compatibility issues.

e NCBE is willing to permit the laptop to remain set up with the peripherals connected in
the testing room from February 21, 2011 through the administration of the MBE to Ms.
Enyart on February 26 and 27, 2011. This assumes California’s agreement and
assurance that the laptop will be kept in secure storage.

Assuming Ms. Enyart proceeds with her anticipated motion, NCBE will not object to the
inclusion of these terms in the Court’s order. NCBE believes that all of these steps together will
minimize the likelihood of any problems upon set up and, further, will present Ms. Enyart with
more than adequate support should any problem arise.

As previously communicated, however, NCBE will not grant administrative privileges to Ms.
Enyart’s technical expert. As we have described to you on several occasions, this solution

presents significant security issues:

e Granting administrative privileges to a third party would allow that third party to install
and uninstall the software on computer. This would mean that that NCBE would have no
control over what data is placed on the computer, or removed from the computer.

e The third party could enable features that NCBE purposely disabled, such as Internet
and USB drive connections, which of course are essential precautions to prevent
security breaches. Similarly, the third party could disable anti-virus software, leaving the
computer vulnerable to the installation of unauthorized and undetectable malware.

e Once certain software was removed — such as device drivers — because such software
cannot be shipped, it would have to be downloaded from the Internet, and attaching the
laptop to the Internet means that the confidential test questions on the laptop are not

secure.

e The terms of NCBE'’s software licenses prohibit NCBE from shipping the original
installation media or share our licensing and registration keys.

In light of these problems, it should be obvious why NCBE is rejecting the delegation of
administrative privileges. This is a drastic solution to a problem that does not yet exist.
Furthermore, it is worth noting that no one has been able to say definitively that even if
administrative privileges had been delegated on the last examination, they could have been

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applied to solve the issues reported by Ms. Enyart. | note that representatives of the National
Federation of the Blind, in conferring with NCBE IT employees by telephone on January 7,
2011, volunteered that JAWS and MAGic (from the same vendors) are designed to work
together, eliminating the compatibility issues that are possible with Ms. Enyart’s previous choice
of configuration (JAWS from one vendor and ZoomText from another).

We remain willing to discuss these issues further, and to continue the brainstorming process.
Nevertheless, if Ms. Enyart decides to proceed with her motion, NCBE expects that this letter be
submitted to the Court as evidence of the parties’ negotiations.

Sincerely,

Cooley ppp
Wendy J. Brenner

910491 v3/HN

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